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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
         Plaintiff,                             )
                                                )
v.                                              )   No. 4:10CR114 HEA
                                                )
ROBERT EBERHART,                                )
                                                )
         Defendant.                             )

                                              ORDER

         IT IS HEREBY ORDERED that the change of plea hearing previouslly set in this matter

for Thursday, June 3, 2010, is reset to Wednesday, June 9, 2010, at 11:30 a.m. in courtroom 17

South.

         Dated this 2nd day of June, 2010.




                                              ________________________________
                                                 HENRY EDWARD AUTREY
                                               UNITED STATES DISTRICT JUDGE
